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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

CARLOS TREVINO,                                 §
         Petitioner                             §
                                                §
V.                                              §          Case No. SA-01-CA-306-XR
                                                §
WILLIAM STEPHENS,                               §
Director, Texas Department of                   §
Criminal Justice, Correctional                  §
Institutions Division,                          §
              Respondent.                       §

                                    NOTICE OF APPEAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, CARLOS TREVINO, the Petitioner in the above styled and numbered

cause, and hereby appeals to the United States Court of Appeals for the Fifth Circuit from the

District Court's Order and final Judgment of June 11, 2015 denying the Petitioner's Application

for Writ of Habeas Corpus. Mr. Trevino continues to proceed in forma pauperis pursuant to Rule

24(a)(3) of the Federal Rules of Appellate Procedure.

                                             Respectfully submitted,

                                             LAW OFFICE OF WARREN ALAN WOLF
                                             115 E. Travis Street, Suite 746
                                             San Antonio, Texas 78205
                                             Tel.: (210) 225-0055
                                             Fax: (210) 225-0061


                                             /s/Warren Alan Wolf_________
                                             WARREN ALAN WOLF
                                             State Bar No. 21853500




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WILLIAM STEPHENS,                                   §
Director, Texas Department of                       §
Criminal Justice, Correctional                      §
Institutions Division,                              §
              Respondent.                           §


                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 26th day of June 2015, I electronically filed the foregoing with the
Clerk of Court using the CMIECF system which will send notification of such filing to Fredericka
Sargent, Assistant Attorney General, P.O. Box 12548, Capitol Station, Austin, Texas 78711, and I
certify that there are no non-CMIECF participants.




                                                /s/Warren Alan Wolf_________
                                                WARREN ALAN WOLF

                                                Attorney for Petitioner




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